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                                                            February 11, 2023


The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                     United States v. Genaro Garcia Luna
                                     Ind. No. 19-Cr-576 (BMC)

Your Honor:

      In anticipation of the Court’s preparation of its jury charge, the defense respectfully
submits the enclosed supplemental requests to charge.

       Thank you for your consideration.



                                                            Sincerely,

                                                            ----/s/-----

                                                            Florian Miedel
                                                            Cesar de Castro
                                                            Valerie Gotlib
                                                            Shannon McManus
                                                            Counsel for Genaro Garcia Luna
Cc: All counsel (ECF)
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                                 SUPPLEMENTAL REQUEST 1


Evidence at trial has established that no one in the Sinaloa Cartel had any interaction with Mr.
Garcia Luna after 2011, and that he resigned from his position in the Mexican government in
late 2012. Evidence has further established that Mr. Garcia Luna left Mexico and moved to the
United States in 2012 or 2013. The evidence also showed that the end of the Calderon
Administration was widely known and covered in the media in Mexico, as was Mr. Garcia
Luna’s departure from government. Moreover, Sergio Villareal Barragan (“El Grande”)
testified in an analogous context that once he resigned from the federal police, he stopped
working with the Juarez cartel because he “was no good to them anymore.” Tr. at 70. A
criminal defendant “is entitled to have instructions presented relating to any theory of defense
for which there is any foundation in the evidence, no matter how weak or incredible that
evidence may be.” United States v. LaMorte, 950 F.2d 80, 84 (2d Cir.1991) (citation and internal
quotation marks omitted).

Accordingly, the defense respectfully requests the following instruction to be given to the jury.


                                        Withdrawal Instruction

        Mr. Garcia Luna has raised the defense that even if the evidence was sufficient to

establish, beyond a reasonable doubt, that he was a member of the charged conspiracy, in 2012,

when he left the Mexican government, he withdrew from the conspiracies charged in Counts 1-

4, and that therefore the statute of limitations ran out before the government obtained an

indictment against him in 2019. The statute of limitations is a law that puts a limit on how

much time the government has to obtain an indictment. For the charges in this case, the

statute of limitations is five years.


        Once a person becomes a member of a conspiracy, that person remains a member until

that person withdraws from it. “For a defendant to show that he withdrew from the

conspiracy, proof merely that he ceased conspiratorial activity is not enough. He must also

show that he performed some act that affirmatively established that he disavowed his criminal

association with the conspiracy, either the making of a clean breast to the authorities, or

communication of the abandonment in a manner reasonably calculated to reach co-conspirators.

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And the defendant must not take any subsequent acts to promote the conspiracy or receive any

additional benefits from the conspiracy.” [United States v. Eppolito, 543 F.3d 25, 49 (2d Cir.

2008) (internal citations and quotation marks omitted)].


       The burden is on the defendant to prove by a preponderance of the evidence that he

withdrew from the conspiracy. A preponderance of the evidence means that you must be

persuaded that the things the defendant seeks to prove are more probably true than not

true. This is a lesser burden of proof than the government’s burden to prove beyond a

reasonable doubt each element of the conspiracy and that the defendant was a member of the

conspiracy. You should also remember that the fact that the defendant has raised this defense

does not relieve the government of the burden of proving all the elements of the offenses

charged beyond a reasonable doubt.


       If you find by a preponderance of the evidence that the defendant withdrew from the

conspiracy, you must find the defendant not guilty of counts 1-4 of the indictment.




                                            Authority
Adapted from 9th Cir. Pattern Criminal Jury Instruction 11.5; United States v. Eppolito, 543 F.3d
25, 49 (2d Cir. 2008).




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                                SUPPLEMENTAL REQUEST 2



In light of the number of times during the trial that witnesses were confronted with documents
in order to refresh their recollection, and especially given juror 7’s inquiry at the beginning of
the trial about this topic, the defense respectfully requests the following instruction to be given
to the jury.



                               Admissibility of Prior Statements

       The Rules of Evidence permit the admission of certain documents or prior statements

by witnesses and prohibit the admission of others. For example, when a witness is shown a

document to see if it refreshes his or her recollection, that document is generally not admissible

into evidence. It is just being shown to the witness to jog his or her memory.




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                                SUPPLEMENTAL REQUEST 3



                           Defendant Testifying or Not Testifying

       If Mr. Garcia Luna testifies, the defense requests the Court’s preferred charge

pertaining to a defendant testifying on his own behalf. If Mr. Garcia Luna does not testify, the

defense requests the Court’s preferred charge pertaining to a defendant not testifying. We only

ask that it include a direction to the jury to not even discuss the topic of the defendant not

testifying in the jury room during deliberations.




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